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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

RICK WOODS, Individually and On Behalf
of Others Similarly Situated
                                                              CASE NO. 5:11-CV-01263-JF
                          Plaintiff(s),

                 v.                                           STIPULATION AND -----------------
                                                                              [PROPOSED]
GOOGLE INC.                                                   ORDER SELECTING ADR PROCESS

                  Defendant(s).
_______________________________/

       Counsel report that they have met and conferred regarding ADR and have reached the
following stipulation pursuant to Civil L.R. 16-8 and ADR L.R. 3-5:

The parties agree to participate in the following ADR process:

        Court Processes:
        9     Non-binding Arbitration (ADR L.R. 4)
        9     Early Neutral Evaluation (ENE) (ADR L.R. 5)
        9     Mediation (ADR L.R. 6)

(Note: Parties who believe that an early settlement conference with a Magistrate Judge is
appreciably more likely to meet their needs than any other form of ADR, must participate in an
ADR phone conference and may not file this form. They must instead file a Notice of Need for
ADR Phone Conference. See Civil Local Rule 16-8 and ADR L.R. 3-5)

        Private Process:
        9
        ✔      Private ADR (please identify process and provider) ______________________
Parties to seek agreement to specific provider after the current motion to dismiss (MTD) is decided.
_____________________________________________________________________________

The parties agree to hold the ADR session by:
       9       the presumptive deadline (The deadline is 90 days from the date of the order
               referring the case to an ADR process unless otherwise ordered. )

        9
        ✔        other requested deadline _____________________________________________
                                          Parties to seek deadline agreement after current MTD is decided.



Dated:___________
       6/17/2011                                                       ____________________________
                                                                       Brad E. Seidel
                                                                       Attorney for Plaintiff

Dated:____________
       6/17/2011                                                       ____________________________
                                                                       Edward D. Johnson
                                                                       Attorney for Defendant
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When filing this document in ECF, please be sure to use the appropriate ADR Docket
Event, e.g., "Stipulation and Proposed Order Selecting Early Neutral Evaluation."
[PROPOSED] ORDER
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      Pursuant to the Stipulation above, the captioned matter is hereby referred to:
      9     Non-binding Arbitration
      9     Early Neutral Evaluation (ENE)
      9     Mediation
      9
      ✔     Private ADR

      Deadline for ADR session
      9      90 days from the date of this order.
      9
      ✔      other ___________________
                    See above.



IT IS SO ORDERED.

       6/20/11
Dated:________________                              ___________________________________

                                                    UNITED STATES DISTRICT             JUDGE
